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             10       Possible Financial, Inc.
             11
                                           UNITED STATES DISTRICT COURT
             12
                                          CENTRAL DISTRICT OF CALIFORNIA
             13
             14
                      ASHLEY JENNIZA CRUZ-                Case No. 5:23-cv-00788-SP
             15       MONDRAGON,
                                                          STIPULATION TO EXTEND TIME
             16                         Plaintiff,        TO RESPOND TO INITIAL
                                                          COMPLAINT BY NOT MORE
             17                   vs.                     THAN 30 DAYS (L.R. 8-3)
             18       POSSIBLE FINANCIAL, INC.,
                                                          Complaint Served: May 4, 2023
             19                         Defendant.        Current Response Date: May 26, 2023
                                                          New Response Date: June 26, 2023
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             28                                              STIPULATION TO EXTEND TIME TO RESPOND
MORGAN, LEWIS &                                                   TO INITIAL COMPLAINT BY NOT MORE
 BOCKIUS LLP
                                                                               THAN 30 DAYS (L.R. 8-3)
                                                                                  CASE NO. 5:23-cv-788
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                  1         Defendant Possible Financial, Inc. (“Defendant”), and plaintiff Ashley
                  2   Jenniza Cruz-Mondragon (“Plaintiff”) (“Plaintiff,” and together with Defendant, the
                  3   “Parties”) hereby stipulate as follows:
                  4         WHEREAS, pursuant to Fed. R. Civ. Proc. 81(c), the deadline for Defendant
                  5   to respond to the Complaint is May 26, 2023;
                  6         WHEREAS, pursuant to Local Rule 8-3, the parties have agreed to extend
                  7   the date for Defendant to respond to the Complaint by no more than thirty (30)
                  8   days; and
                  9         WHEREAS, the Parties have not previously agreed to extend the response
             10       deadline; and
             11             THEREFORE, IT IS HEREBY STIPULATED AND AGREED between
             12       Plaintiff and Defendant, through their undersigned counsel, that Defendant’s
             13       deadline to respond to the Complaint, by answer, motion, or otherwise, be extended
             14       up to and including June 26, 2023.
             15       Dated:       May 26, 2023                     MARTIN & BONTRAGER
             16
             17                                                     By/s/ Nicholas J. Bontrager
                                                                       Nicholas J. Bontrager
             18
                                                                       Attorney for Plaintiff
             19                                                        Ashley Jenniza Cruz-Mondragon
             20
                      Dated:       May 26, 2023                     MORGAN, LEWIS & BOCKIUS LLP
             21
             22
                                                                    By/s/ Yardena Zwang-Weissman
             23                                                        Yardena Zwang-Weissman
             24                                                        Attorney for Defendant
             25                                                        Possible Financial, Inc.

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             27                                                             STIPULATION TO EXTEND TIME TO
                                                                       RESPOND TO INITIAL COMPLAINT BY NOT
                                                                2
             28                                                                 MORE THAN 30 DAYS (L.R. 8-3)
                                                                                        CASE NO. 5:23-CV-788
MORGAN, LEWIS &
 BOCKIUS LLP
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                  1                               ATTESTATION OF FILER
                  2
                            Pursuant to L.R. 5-4.3.4(a)(2)(i), I hereby certify that the content of this
                  3
                      document is acceptable to Nicholas J. Bontrager, counsel for Plaintiff Ashley
                  4
                      Jenniza Cruz-Mondragon, and that my Firm has obtained Mr. Bontrager’s
                  5
                      authorization to affix his electronic signature to this document.
                  6
                  7
                      Dated: May 26, 2023                           /s/ Yardena Zwang-Weissman
                  8                                                     Yardena Zwang-Weissman
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                                                                                       CASE NO. 5:23-CV-788
MORGAN, LEWIS &
 BOCKIUS LLP
